 1    Scott R. Weaver, WSBA #29267                                       Honorable Frederick P. Corbit
      Carney Badley Spellman, P.S.                                                          Chapter 11
 2    701 Fifth Avenue, Suite 3600                                Location: 904 West Riverside Avenue
      Seattle, WA 98104-7010                                                                 Suite 304
 3
      (206) 622-8020                                                              Spokane, WA 99201
 4    (206) 467-8215 (Facsimile)                                   Hearing Date: _________________
      weaver@carneylaw.com                                         Hearing Time: _________________
 5    Attorneys for Executive Flight, Inc.                         Telephonic: ___________________

 6
                                 UNITED STATES BANKRUPTCY COURT
 7
                            EASTERN DISTRICT OF WASHINGTON AT SPOKANE
 8
      In re:                                                NO. 18-03197
 9    GIGA WATT INC.,                                       EX PARTE MOTION FOR EXPEDITED
10                                                          HEARING AND TO SHORTEN
                                          Debtor.
                                                            NOTICE PERIOD AND TIME TO
11                                                          RESPOND TO LANDLORD,
                                                            EXECUTIVE FLIGHT, INC.’s MOTION
12                                                          TO COMPEL REJECTION OF
                                                            UNEXPIRED NON-RESIDENTIAL
13                                                          REAL ESTATE LEASE
14

15             NOW COMES, EXECUTIVE FLIGHT, INC (“Landlord”), by and through its

16    undersigned counsel, and pursuant to Federal Rule of Bankruptcy Procedure 9006(c) states

17    and requests as follows:

18             1.          Moving party Executive Flight, Inc., has submitted a Motion to Compel
19    Rejection of Unexpired Commercial Real Estate Lease (“Motion”). Debtor previously

20    occupied commercial property (“Premises”) owned by Landlord, but has since vacated the

21    Premises.

22             2.          Time is of the essence in having this matter heard as Landlord has located a

23    prospective tenant who wishes to take possession of a portion of the Premises on January 1,

24    2019. Debtor’s counsel has notified Landlord that it intends to reject the lease. Also,

25    administrative rent is not being paid. Landlord desires to recover possession of the Premises

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     EX PARTE MOTION FOR EXPEDITED HEARING AND TO        CARNEY BADLEY SPELLMAN, P.S.
     SHORTEN NOTICE PERIOD AND TIME TO RESPOND TO            701 Fifth Avenue, Suite 3600
     LANDLORD, EXECUTIVE FLIGHT, INC.’s MOTION TO COMPEL       Seattle, WA 98104-7010
     REJECTION OF UNEXPIRED NON-RESIDENTIAL REAL                    (206) 622-8020
     ESTATE LEASE – 1

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      to lease a portion to the prospective new tenant. Debtor’s attorney has notified Landlord that
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      Debtor does not oppose the relief requested. It is in the best interest of the Debtor and the
 3
      estate that the lease be rejected as quickly as possible.
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               3.          Landlord requests that this Honorable Court enter an order granting an
 5
      expedited hearing for the Motion to Reject to be heard on December 17, 2018 at 2:00 p.m.
 6
               5.          Landlord also requests that any objections to the Motion be due by December
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      14, 2018 at 12:00 p.m.
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               6.          Landlord does not anticipate that any objections will be filed. Landlord
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      believes that the expedited relief requested will not adversely impact any party.
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               7.          If no objection to the Motion is filed, Landlord requests that the Court enter an
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      order granting the Motion without a hearing.
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               8.          Pursuant to Bankruptcy Rule 9006, this Court has the authority to set a hearing
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      on shortened notice. As detailed in the Motion, the estate has no economic interest in the
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      leased premises and Landlord wishes to recover possession as quickly as possible. This will
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      allow Landlord to lease to the prospective tenant and this will minimize the estate’s
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      administrative obligations.         The longer the estate is bound by the lease, the greater the
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      damages the estate will suffer.
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               9.          Landlord will be prejudiced if the hearing is not heard on an expedited basis
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      since it is not receiving administrative rent and since it might lose the prospective tenant.
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               WHEREFORE, Landlord respectfully requests that this Honorable Court enter an
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      Order:
22
               (1) setting an expedited hearing on the Motion to Compel Rejection of Unexpired
23
      Non-Residential Real Estate Lease to be heard on December 17, 2018 at 2:00 p.m.; (2)
24
      requiring objections to the Motion to Compel Rejection of Unexpired Non-Residential Real
25
26
     EX PARTE MOTION FOR EXPEDITED HEARING AND TO        CARNEY BADLEY SPELLMAN, P.S.
     SHORTEN NOTICE PERIOD AND TIME TO RESPOND TO            701 Fifth Avenue, Suite 3600
     LANDLORD, EXECUTIVE FLIGHT, INC.’s MOTION TO COMPEL       Seattle, WA 98104-7010
     REJECTION OF UNEXPIRED NON-RESIDENTIAL REAL                    (206) 622-8020
     ESTATE LEASE – 2

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      Estate Lease Motion be filed and served by December 14, 2018 at 2:00 p.m.; (3) entering an
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      order on the Motion to Compel Rejection of Unexpired Non-Residential Real Estate Lease
 3
      without a hearing if no objections are filed; and (4) granting the Landlord such other and
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      further relief as the court deems proper.
 5
               DATED this 5th day of December, 2018.
 6
                                                  CARNEY BADLEY SPELLMAN, P.S.
 7

 8                                                By /s/Scott R. Weaver
                                                     Scott R. Weaver, WSBA #29267
 9                                                   weaver@carneylaw.com
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                                                  Attorneys for Executive Flight, Inc.
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     EX PARTE MOTION FOR EXPEDITED HEARING AND TO        CARNEY BADLEY SPELLMAN, P.S.
     SHORTEN NOTICE PERIOD AND TIME TO RESPOND TO            701 Fifth Avenue, Suite 3600
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     ESTATE LEASE – 3

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